              IN THE UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF TENNESSEE
                            AT CHATTANOOGA




 UNITED STATES OF AMERICA                      )
                                               )
 v.                                            )      No. 1:07-CR-84
                                               )
 BRADLEY OVERTON                               )


                             MEMORANDUM OPINION


              This criminal case came before the court for sentencing on August

 15, 2008. For the reasons stated in open court, on the record, and as discussed

 below, the court finds that a substantial departure and variance from the

 sentencing guidelines is appropriate in this case.

              The advisory guidelines recommend that the court find the

 defendant, Bradley Overton, to be a career offender. Absent career offender

 status, the defendant’s base offense level is 15 with a criminal history category of

 III, resulting in a guideline range of 24 to 30 months. In contrast, as a career

 offender, the defendant’s base offense level is 31, criminal history category VI,

 resulting in a guideline range of 188 to 235 months.

              The defendant’s career offender status is based on two prior

 convictions – each of which only resulted in one criminal history point. First,

 when the defendant was 17 years old, he was involved in a single vehicle




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 accident which resulted in the death of his friend. He tested positive for

 marijuana, he pled guilty to vehicular homicide (a crime of violence), and he was

 sentenced to 7 years probation for this offense. Second, he was convicted in

 2005 for possession of Xanax and marijuana (a controlled substance offense),

 and again, he received 7 years probation. He has one other conviction for DUI,

 for which he received 12 months probation.

              Under § 4A1.3(b) of the sentencing guidelines, “if reliable information

 indicates that the defendant’s criminal history category substantially over-

 represents the seriousness of the defendant’s criminal history or the likelihood

 that the defendant will commit other crimes, a downward departure may be

 warranted.” Subpart (3) recommends that the court limit its departure to one

 criminal history point when the defendant is subject to career offender status.

              The court finds that such a downward departure under § 4A1.3(b) is

 warranted in this case. The defendant has a minimal criminal history. Prior to his

 arrest a year ago for this offense, it does not appear that he has spent any time in

 jail or prison for any of his prior offenses. Further, he was very young when he

 was convicted of the crime of violence which triggers the career offender status.

 And, the court notes that the drug offense was for possession, not distribution or

 manufacture. Thus, the court finds that the defendant’s criminal history category

 substantially overstates the seriousness of his criminal history, and therefore, the

 court will depart pursuant to § 4A1.3(b)(3). With a one-level decrease in the

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 defendant’s criminal history as recommended by the guidelines, his guideline

 range becomes 168 to 210 months.

              However, the court is also going to grant the defendant’s motion for a

 variance for the following reasons. First, the defendant’s participation in the

 conspiracy was very minimal. When agents first encountered him, he

 immediately confessed his involvement with Mr. Henson. He said he had

 supplied Mr. Henson with 2 or 3 boxes of pseudoephedrine on 2 or 3 occasions,

 for which he was paid or received methamphetamine to support his own

 addiction. While the court recognizes that the ingredient supplied by the

 defendant is necessary to manufacture methamphetamine, there is no evidence

 that the defendant manufactured or distributed methamphetamine himself.

 Rather, his participation in the conspiracy, like other co-defendants in this case,

 was merely a way to obtain methamphetamine for himself.

              Second, the defendant quickly admitted his participation and told

 agents about his activities. There was no attempt to hide or delay. The

 defendant’s information was necessarily limited by his limited participation, and a

 motion for a downward departure has not been filed by the government. The

 court finds that this anomaly occurs often in large conspiracies where the major

 players get credit, sometimes as much as 50% off their sentences, because they

 are major players and know all the details, while the minor players are given no

 credit because they know little if anything about the scope of the conspiracy.

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              Third, the defendant has made efforts at rehabilitation in the year

 since he was arrested. He has participated in alcohol and drug counseling while

 incarcerated and seeks a recommendation for the Bureau of Prison’s 500-hour

 drug treatment program. This attitude reflects an awareness of his addiction and

 his need for treatment. A variance will allow the defendant to get the treatment

 he needs without being greater than necessary to accomplish this objective.

              Fourth, the defendant’s career offender status greatly overstates the

 seriousness of the defendant’s prior criminal history. He has never spent any

 time in jail or prison – in all likelihood because the convictions did not warrant it.

 His vehicular homicide conviction occurred when he was a very young man and

 his drug conviction was for mere possession. Although the court has minimally

 departed as provided by the guidelines for this reason, the court finds that it is

 also a reason to vary from the guideline range.

              Fifth, the court finds that a sentence even at the adjusted guideline

 range for a career offender is “greater than necessary” to deter any future

 conduct of the defendant or of others. It is also greater than necessary to protect

 the public from future crimes. If the defendant gets the drug treatment he seeks,

 his criminal conduct will likely end. All three of his criminal history points arise

 from his abuse of drugs or alcohol. Further, the court notes that the defendant

 has a trade as a mechanic and he has strong family and community support.




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              Finally, the court finds that a variance is necessary to avoid

 unwarranted sentencing disparity. The court has sentenced over 30 of the co-

 defendants in this case. A review of these sentences shows that other co-

 defendants with similar participation in the conspiracy and similar criminal

 histories, not counting the career offender status, received substantially lower

 sentences – less than 50 months in most cases.

              The court cannot ignore the defendant’s career offender status, of

 course, but for the reasons discussed above the court grants the defendant’s

 motion for a variance and finds that a sentence of 84 months is sufficient, but not

 greater than necessary, to comply with the purposes of sentencing. This

 variance is based on the adjusted guideline range of 168-210 months.

              IT IS SO ORDERED.



                                              ENTER:



                                                     s/ Leon Jordan
                                              United States District Judge




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